          Case 1:17-cv-00357-RGA Document 10 Filed 06/22/17 Page 1 of 1 PageID #: 102
O AO 120 (Rev. 3/04)

                             Mail Stop 8                                                     REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
           filed in the U.S. District Court                Delaware               on the following      X    Patents or            Trademarks:
DOCKET NO.                       DATE FILED                       U.S. DISTRICT COURT
      17cv357-RGA                        3/30/2017                                        DISTRICT OF DELAWARE
PLAINTIFF                                                                  DEFENDANT
                                                                            .
 Glaxo Group, Ltd.                                                          Teva Pharmaceuticals USA, Inc.



        PATENT OR                     DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                   OR TRADEMARK
                                         3/10/2009
1          US 7,500,444                                                                         Glaxo Group Limited

2          US 7,832,351                       11/16/2010                                        Glaxo Group Limited

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                     In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                                  G Amendment                G   Answer         G    Cross Bill           G   Other Pleading
        PATENT OR                     DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                   OR TRADEMARK
1

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                     In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


 See attached Notice of Dismissal



CLERK                                                      (BY) DEPUTY CLERK                                              DATE

       JOHN A. CERINO, CLERK OF COURT                                                                                     6/22/2017


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
